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                       UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

 v.                                           Crim. Action No. 21-305 (JEB)

 SARA CARPENTER,

                     Defendant.




      DEFENDANT’S MOTION FOR PAYMENT OF TRAVEL EXPENSES
                   PURSUANT TO 18 U.S.C. § 4285

       Ms. Sara Carpenter, through counsel, hereby moves this Court to enter the

attached Order, which will authorize and direct the United States Marshals Service to

furnish Ms. Carpenter with an amount of money for subsistence expenses, specifically

overnight housing, not to exceed the amount authorized as a per diem allowance for

travel under section 5702(a) of title 5, United States Code, for the duration of her trial

beginning on March 6, 2023. Government counsel opposes this motion.

      Ms. Carpenter can make her own travel arrangements to travel from Queens, New

York, where she currently resides, to the District of Columbia for her trial. However, she

cannot afford to pay for overnight housing for the duration of her trial. Ms. Carpenter

has previously been determined to be financially indigent and to qualify for court-

appointed counsel. As documented in the Pretrial Report from the Eastern District of

New York, Ms. Carpenter is unable to work and subsists on Social Security Disability

(“SSD”) payments of approximately $2,400 a month in addition to $4,000 a month from

her New York City Police Department Pension.

      As Ms. Carpenter’s son is now 19 years old, her disability benefits have been

reduced since the time of her arrest. While Ms. Carpenter owns her own home with an
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 estimated value of between $650,000 and $700,000, she has an outstanding mortgage

 balance of approximately $500,000. In addition, she has been shouldering the cost of her

 son’s college tuition and room and board, totaling between $30,000 to $40,000 annually.

 While Ms. Carpenter can afford travel expenses to and from the District of Columbia, she

 cannot afford the cost of lodging for the duration of the trial.

       Pursuant to 18 U.S.C. § 4285, this Court may:

        direct the United States marshal to arrange for [an indigent defendant’s]
        means of noncustodial transportation or furnish the fare of such
        transportation to the place where his appearance is required, and in
        addition may direct the United States marshal to furnish that person with
        an amount of money for subsistence expenses to his destination, not to
        exceed the amount authorized as a per diem allowance for travel under
        section 5702(a) of title 5, United States Code.

       Accordingly, we respectfully request that the Court enter the attached Order

directing the U.S. Marshal to furnish Ms. Carpenter with an amount of subsistence

expenses, specifically for overnight lodging, not to exceed the amount authorized as a per

diem allowance for travel under section 5702(a) of title 5, United States Code, to facilitate

her appearance for trial as indicated in the attached order. (Ex. A). In the alternative, we

request that the Court authorize funding through the Criminal Justice Act, 18 U.S.C. §

3006A. (Ex. B). See United States v. Mendoza, 734 F. Supp. 2d 281, 286 (E.D.N.Y. 2010)

(authorizing payment from Criminal Justice Act funds for out-of-district indigent

defendants’ hotel costs during estimated two-week long trial).


                                                   Respectfully submitted,

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